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LAS AMERICAS IMMIGRANT ADVOCACY
CENTER; AMERICAN GATEWAYS, et al.

                                                           1:23-cv-1537

STEVEN C. MCCRAW et al.




                               Lee Gelernt



                                      Plaintiffs




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              09/11/1992

                                                   New York

                                    LG 8511




Eastern District of New York               07/09/1993

U.S. Court of Appeals 1st Circuit          09/05/1996

U.S. Court of Appeals 3rd Circuit          04/01/1997

U.S. Supreme Court                         04/16/2001
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Case 1:23-cv-01537-DII Document 7 Filed 01/02/24 Page 4 of 5




      Lee Gelernt




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January             2024


                                          Lee Gelernt
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                                                        1:23-cv-1537

STEVEN C. MCCRAW et al.




        Lee Gelernt                                     Plaintiffs




                             Plaintiffs




                                    UNITED STATES DISTRICT JUDGE
